                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


  E. JEAN CARROLL,                                         Civil Action No.: 1:20-cv-7311-LAK-JLC

                         Plaintiff,
                                                               NOTICE OF MOTION FOR
          v.                                               APPROVAL OF SUPERSEDEAS BOND
                                                             AND STAY OF EXECUTION OF
  DONALD J. TRUMP, in his personal capacity,                 JUDGMENT PENDING APPEAL

                         Defendant.


       PLEASE TAKE NOTICE that that the defendant, President Donald J. Trump (“President

Trump”), hereby moves this Court, before the Hon. Lewis A. Kaplan, United States District Judge

for the Southern District of New York, located at 500 Pearl Street, New York, NY 10007, on a

date to be set by the Court, for entry of an Order (1) approving the supersedeas bond filed herewith

in the amount of $91,630,000.00; and (2) staying execution of the judgment entered in favor of

Plaintiff E. Jean Carroll and against President Trump on February 8, 2024 in the total amount of

$83,300,000.00 (Docket No. 285) pending appeal.

       This motion is supported by the annexed declaration, any arguments or evidence presented

in reply, all arguments or evidence presented at a hearing or with leave of Court, and upon all prior

proceedings, pleadings, and filings in this action.

 /s/ Alina Habba                                      /s/ D. John Sauer
 Alina Habba, Esq.                                    D. John Sauer*
 Michael T. Madaio, Esq.                              William O. Scharf**
 HABBA MADAIO & ASSOCIATES LLP                        JAMES OTIS LAW GROUP, LLC
 112 West 34th Street, 17th & 18th Floors             13321 North Outer Forty Road, Suite 300
 New York, New York 10120                             Chesterfield, Missouri 63017
 Telephone: (908) 869-1188                            (314) 562-0031
 E-mail: ahabba@habbalaw.com                          John.Sauer@james-otis.com
                                                      * Pro Hac Vice pending
                                                      ** Pro Hac Vice forthcoming
 Dated: New York, New York
        March 8, 2024                                 Attorneys for President Donald J. Trump
